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                             UNITED STATES DISTRICT COURT
                                DISTRICT Of NEW JERSEY


 CERTAIN UNDERWRITERS AT LLOYDS,
 LONDON SUBSCRIBING TO POLICY NO.
 ABLDOO73 88,
                                                        Civil Action No. 17-5676 (JMV)
               Plaintiffs,
                                                                    ORDER
        V.


 PREMIER GUIDANCE LLC, JOHN SOLAN
 III,

               Defendants.


       For the reasons stated in the accompanying Opinion, and for good cause shown,

       IT IS on this 2nd day of January, 2018

       ORDERED that Plaintiffs’ motion for default judgment pursuant to Rule 55(b)(2) (D.E.

10) is GRANTED; and it is further

       ORDERED that Plaintiffs, pursuant to Policy No. ABLD007388, have no duty to defend

or indemnify Defendant Premier Guidance or Defendant Solan in connection with a lawsuit filed

in the Superior Court of New Jersey by Frank Concepcion, which is captioned frank Concepcion

v. Premier Guidance LLC et al., HUD-L-3488-14.



                                            (‘\\&Q                f
                                                John Michael Vazte U.S.D.J.
